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Fill in this information to identify the case:

 

Debtorname Acis Capital Management, L.P.

United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

4

 

Case number (ifknown) 18-30264
| Check if this is an
| amended filing

 

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/46

 

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Income

1. Gross revenue from business

 

 

[1 None.

Identify the beginning and ending dates of the debtor's fiscal year, Sources of revenue Gross revenue

which may be a calendar year Check all that apply (before deductions and

exclusions)

From the beginning of the fiscal year to filing date: 3 Operating a business $1,057 ,615.91

From 1/01/2018 to Filing Date Pa ee
CO Other

For prior year: @ Operating a business $13,542,943.20

From 1/01/2017 to 12/31/2017 Sn
O Other : _——

For year before that: @ Operating a business $14,473,422.41

From 1/01/2016 to 12/31/2016 = sah ee
Oi Other

 

2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
and royaities. List each source and the gross revenue for each separately. Do not include revenue listed in line 1,

 

 

 

 

 

 

 

 

C2 None.
Description of sources of revenue Gross revenue from
each source
(before deductions and
exclusions)
From the beginning of the fiscal year to filing date: Interest, external legal and
From 1/01/2018 to Filling Date _admin support $70,673.08
For prior year: Interest, external legal and
From 1/01/2017 to 12/31/2017 admin support $748,474.74
For year before that:
From 1/01/2016 to 12/31/2016 Interest $102,738.89
List Certain Transfers Made Before Filing for Bankruptcy
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 1

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Debtor

3. Certain payments or transfers to creditors within 90 days
List payments or transfers--including expense reimbursements
filing this case unless the aggregate value of all property transferre:

Acis Capital Management, L.P.

Case number (ifknown) 18-30264

before filing this case
--to any creditor, other than regular employee compensation, within 90 days before
d to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19

and every 3 years after that with respect to cases filed on or after the date of adjustment}

 

 

 

 

 

 

 

 

0 None,
Creditor's Name and Address Dates Total amount of value § Reasons for payment or transfer
Check all that apply
31. Highland Capital Management, L.P. 44/2I2017 $234,013.63 [Secured debt
300 Crescent Court CJ Unsecured loan repayments
Suite 700 (1 Suppliers or vendors
Dallas, TX 75208 W Services
C1 Other__
3.2. Highland Capital Management, L.P. 44/3/2017 $941,958.57 (J Secured debt
300 Crescent Court 1] Unsecured loan repayments
Suite 700 C) Suppliers or vendors
Dallas, TX 75208 Services
D1 otner__
am Highland Capital Management, L.P. 12/8/2017 $89,655.14 () Secured debt
300 Crescent Court (1 Unsecured loan repayments
Suite 700 ( Suppliers or vendors
Dallas, TX 75208 Wi Services
(] Other__
34. David Simek 44/45/2017 $2,068.13 (1 Secured debt
31 Woodacres Road 0 Unsecured loan repayments
Brookville, NY 11545 [J Suppliers or vendors
Mi Services
0 Other__
35. David Simek 41/30/2017 $24,266.71 (1 Secured debt
31 Woodacres Road O Unsecured loan repayments
Brookville, NY 11545 Cl Suppliers or vendors
@ Services
C) Other __
36. David Simek 42/42/2047 $1,718.79 (1 Secured debt
31 Woodacres Road (] Unsecured loan repayments
Brookville, N¥ 11545 (1 Suppliers or vendors
Services
F] Other__
37. David Simek 42/29/2017 $25,000.00 1] Secured debt
31 Woodacres Road C) Unsecured loan repayments
Brookville, NY 71545 (Cl Suppliers or vendors
IB Services
CQ Other__
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

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Case number (ifknown) 18-30264

 

 

Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check ail that apply
38. FINRA 41/22/2047 $70.00 1 Secured debt
1735 K Street, NW C Unsecured foan repayments
Washington, DC 20006 I Suppliers or vendors
Ol Services
D Other_
38. Highland CLO Management, Ltd. 4219/2047 $2,830,459.22 1 Secured debt

PO Box 309, Ugland House
Grand Cayman, KY1-1104, Cayman
Islands

(1 Unsecured loan repayments
C) Suppliers or vendors
Services

Ci Other__

 

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
or cosigned by an insider unless the aggregate value of all property transferred {o or for the benefit of the insider is less than $6,425. (This amount
may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. Insiders include officers, directors, and anyone in cantrol of a corporate debtor and their relatives: general partners of a partnership
debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

None.

Insider's name and address
Relationship to debtor

4.1.

4.2.

4.3.

4.4,

4.5.

46.

4.7.

Official Form 207

Highland Capital Management, L.P.
300 Crescent Court

Suite 700

Dallas, TX 75201

Highland Capital Management, L.P.
300 Crescent Court

Suite 700

Dallas, TX 75201

Highland Capital Management, L.P,
300 Crescent Court

Suite 700

Dallas, TX 75201

Highland Capital Management, L.P.
300 Crescent Court

Suite 700

Dallas, TX 75201

Highland Capital Management, L.P.

300 Crescent Court
Suite 700
Dallas, TX 75201

Highland Capital Management, L.P,

300 Crescent Court
Suite 700
Dallas, TX 75201

Highland Capital Management, L.P,
300 Crescent Court

Suite 700

Dallas, TX 75201

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Dates

2/1/2017

2/1/2017

2/2/2017

2/14/2017

4171/2017

4/18/2017

4/18/2017

Total amount of value

$976,688.47

$1,096,033.37

$3,574.80

$67.44

$315,574.30

$438,497.51

$375,855.01

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

Reasons for payment or transfer

Contractual payment

Services

Expense reimbursement

Expense reimbursement

Services

Services

Contractual payment

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Debtor

Acis Capital Management, L.P.

Insider's name and address
Relationship to debtor

4.8.

49.

4.10

4.14

4.12

4.43

4.14

4.15

4.16

47

4.18

4.49

Official Form 207

Highland Capital Management, L.P.

300 Crescent Court
Suite 700
Dallas, TX 75201

Highland Capital Management, L-P.

300 Crescent Court
Suite 700
Dallas, TX 75201

Highland Capital Management, L.P.

300 Crescent Court
Suite 700
Dallas, TX 75201

Highland Capital Management, L.P.

300 Crescent Court
Suite 700
Dallas, TX 75204

Highland Capital Management, L.P.

300 Crescent Court
Suite 700
Dallas, TX 75201

Highland Capital Management, L.P.

300 Crescent Court
Suite 700
Dallas, TX 75201

Highland Capital Management, L.P.

300 Crescent Court
Suite 700
Dallas, TX 75201

Highland Capital Management, L.P.

300 Crescent Court
Suite 700
Dallas, TX 75201

Highland Capital Management, L.P.

300 Crescent Court
Suite 700
Dallas, TX 75201

Highland Capital Management, L.P.

300 Crescent Court
Suite 700
Dallas, TX 75204

Highland Capital Management, L.P.

300 Crescent Court
Suite 700
Dallas, TX 75201

Highland Capital Management, L.P.

300 Crescent Court
Suite 700
Dallas, TX 75201

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Dates

4/19/2017

5/1/2017

5/1/2017

5/31/2017

5/31/2017

TI18/2017

8/1/2017

8/7/2017

8/16/2017

10/18/2017

10/18/2017

10/24/2017

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Total amount of value

$330,249.69

$974,426.41

$974,426.41

$2,809,518.47

$581,036.15

$373,167.08

$971,603.02

$1,339,422.12

$53.41

$372,872.82

$728,702.26

$501,979.18

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

 

Reasons for payment or transfer

Services

Services

Contractual Payment

Unsecured loan repayments

incl interest

Services

Contractual payment

Contractual payment

Services

Expense reimbursement

Contractual payment

Services

Unsecured loan repayments
including interest

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Debtor Acis Capital Management, L.P. Case number (itinown) 18-30264
Insider's name and address Dates Total amount of value = Reasons for payment or transfer
Relationship to debtor
4.20 Highland Capital Management, L.P. 40/25/2017 $46,648.82 | Expense reimbursement
: 300 Crescent Court
Suite 700

Dallas, TX 75201

4.21 Highland Capital Management, L.P. 10/25/2017 $67,966.85 | —xpense reimbursement

300 Crescent Court
Suite 700
Dallas, TX 75201

4.22 Highland Capital Management, L.P. 11/1/2017 $967,223.91 Contractual payment

300 Crescent Court
Suite 700
Dallas, TX 75201

5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

M@ None
Creditor's name and address Describe of the Property Date Value of property

6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account

of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
debt.

I None

Creditor’s name and address Description of the action creditor took Date action was Amount
taken

Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies In which the debtor was involved
in any capacity—within 1 year before filing this case.

 

0 None.
Case title Nature of case Court or agency's name and Status of case
Case number address
7.1. Joshua N. Terry v. Acis Petitionto confirm 44th District Court 01 Pending
Capital Management, L.P. and arbitration award Hon. Bonnie Lee Goldstein, BH On appeal
Acis Capital Management GP, Presiding C Concluded
LLG George L. Allen, Sr. Courts
DC-17-15244 Building
600 Commerce Street, 5th
Floor New Tower
Dallas, TX 75202
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Debtor Acis Capital Management, L.P. Case number (ifknown) 18-30264
Case title Nature of case Court or agency's name and Status of case
Case number address

7.2, Joshua N., Terry v. Highland Wrongful JAMS EC] Pending

Capital Management, L.P., termination, 8401 N. Central O On appeal
Acis Capital Management, breach of Expressway, Suite 610 W Concluded
L.P., Acis Capital contract, Dallas, TX 75225
Management GP, LLC, James conversion, fraud,
Dondero, as trustee of The breach of
Dugaboy Investment Trust, fiduciary duty

and Mark K. Okada
JAMS Arbitration No,
1310022713

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any properly in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before filing this case.

HE None

Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave toa recipient within 2 years before filing this case unless the aggregate value of
the gifts to that recipient is less than $1,000

None

Recipient's name and address Description of the gifts or contributions Dates given Value

Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

 

None
Description of the property lost and Amount of payments received for the loss Dates of lass Value of property
how the loss occurred lost

If you have received payments to cover the loss, for
example, from insurance, government compensation, or
tort lability, list the total received.

List unpaid claims on Official Form 106A/B (Schedule
A/®: Assets — Real and Personal Property).

CertainPayments or Transfers
41, Payments related to bankruptcy
List any payments of money ar other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
relief, or filing a bankruptcy case.

IE None.
Who was paid or who received if not money, describe any property transferred Dates Total amount or
the transfer? value
Address

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

@ None.
Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page &

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Debtor Acis Capital Management, L.P. Case number (ifknown) 18-30264

 

13, Transfers not already listed on this statement
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

Mi None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value

Previous Locations

14, Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

B Does not apply

Address Dates of occupancy
From-To

Health Care Bankruptcies

15, Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

Hl No. Go to Part 9.
O Yes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services If debtor provides meals
the debtor provides and housing, number of
patients in debtor's care

Personally identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

O No.

HM Yes. State the nature of the information collected and retained,

The borrowing base of the CLOs is determined at the time of
issuance. Because the securities trade in the 144a markets, the
debtor Is unable to determine the current holders of such securities
once the securities are traded in the secondary market. However,
some of the debtor's affiliates hold equity positions in the CLOs and
therefore, the debtor is privy to the affiliates’ information.

Does the debtor have a privacy policy about that information?

CNo

yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

No. Go to Part 10.
(Yes. Does the debtor serve as plan administrator?

EENSTM certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 7

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Debtor Acis Capital Management, L.P. Case number (ifknown) 18-30264

 

cooperatives, associations, and other financial institutions.

(1 None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, sold, before closing or
moved, or transfer
transferred
18.1. Jefferies LLC XXXX-0897 C1 Checking 7i2017 $0.00
520 Madison Avenue C] Savings
New York, NY 10022 {] Money Market

a Brokerage
0 Other__

 

19. Safe deposit boxes
List any safe deposit box or ether depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

case.

[1] None

Depository institution name and address Names of anyona with Description of the contents Do you still
access to it have it?
Address

Jefferies LLC Highland Accounting No physical assets held atthe Mino

520 Madison Avenue 300 Crescent Court, Ste time of closing Clyes

New York, NY 10022 700

Dallas, TX 75201

 

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which ihe debtor does business.

@ None

Facility name and address Names of anyone with Description of the contents Do you still
access to it have it?

GGETEREGM Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns, Include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

0 None
Owner's name and address Location of the property Describe the property Value
Acis CLO 2013-1, Ltd. nla - contract Management agreement $0.00

Clifton House
75 Fort Street, P.O. Box 1350
Grand Cayman, KY1-1108, Cayman

 

islands

Owner's name and address Location of the property Describe the property Value
Acis CLO 2014-3, Ltd. nia ~ contract Management agreement $0.00
PO Box 1093

Boundary Hall, Cricket Square
Grand Cayman, KY1-1102, Cayman
Islands

 

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Debtor Acis Capital Management, L.P. Case number (itknown) 18-30264
Owner's name and address Location of the property Describe the property Value
Acis CLO 2014-4, Ltd. n/a - contract Management agreement $0.00
PO Box 1093

Boundary Hall, Cricket Square
Grand Cayman, KY1-1102, Cayman

 

Islands

Owner's name and address Location of the praperty Describe the property Value
Acis CLO 2014-5, Ltd. n/a - contract Management agreement $0.00
PO Box 1093

Boundary Hail, Cricket Square
Grand Cayman, KY1-1102, Cayman

 

Islands

Owner's name and address Location of the property Describe the property Value
Acis CLO 2015-6, Ltd. n/a - contract Management agreement $0.00
PO Box 1093

Boundary Hall, Cricket Square
Grand Cayman, KY1-1102, Cayman

 

Islands
Owner's name and address Location of the property Describe the property Value
BayVK R2 Lux S.A. n/a - contract Management agreement $0.00

15, rue de Flaxweile
L-6776 Grevenmacher, Luxembourg

 

Owner's name and address Location of the property Describe the property Value

Hewett's Island CLO I-R, Ltd. n/a - contract Management agreement $0.00
PO Box 1093GT, Queensgate House

South Church St., George Town

Grand Cayman, KY1-1102, Cayman

Islands

 

Details About Environment information

 

For the purpose of Part 12, the following definitions apply:
Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium).

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any Judicial or administrative proceeding under any environmental law? Include settlements and orders.

No.

C] Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

HM No.
1 Yes. Provide details below.
Site name and address Governmental unit name and Environmental law, if known Date of notice
address
Official Form 207 Statement of Financlal Affairs for Non-Individuals Filing for Bankruptcy page 9

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Debtor

Acis Capital Management, L.P.

 

Case number jitinown) 18-30264

24. Has the debtor notified any governmental unit of any release of hazardous material?

M No.
(C1 Yes. Provide details below.

Site name and address

Governmental unit name and
address

EZG3EM Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

(2 None

Business name address

Describe the nature of the business

Environmental Jaw, if known

 

Date of notice

Employer Identification number
Do not include Social Security number or ITIN.

Dates business existed

 

 

 

 

 

 

25.1. Acis CLO Value FundIiGP,  GeneralPartnerofaninvestment = EIN: = 900786733
LLC fund
300 Crescent Ct., Ste 700 From-To 7/2010 - Present
Dallas, TX 75201
25.2. acis CLO Value Fund il Incentive holding EIN: NIA
Incentive Holding
300 Crescent Ct., Ste 700 From-To 4/2013 - Present
Dallas, TX 75201
25.3. Acis CLO Value Master Fund = Investment fund EIN: XX-XXXXXXX
ll, L.P.
300 Crescent Ct., Ste 700 From-To 7/2010 - Present
Dallas, TX 75201
25.4. Highland CLO Funding, Ltd. | Private equity fund EIN: NIA
c/o Highland HDF Advisor
Ltd. From-To 4/9/2046 - 11/15/2017
300 Crescent Ct., Ste 700
Dallas, TX 75204
25.5. Acis CLO Management,LLC _—«=Relying advisor BIN: XX-XXXXXXX
300 Crescent Ct., Ste 700
Dallas, TX 75204 From-To 5/46/2014 - 12/19/2017
25.6. Acis CLO Management GP, General Partner of an investment EIN: XX-XXXXXXX
LLC fund
300 Crescent Ct., Ste 700 From-To 5/16/2014 - 12/19/2017
Dallas, TX 75201
25.7. Acis CLO Management Investment fund EIN: XX-XXXXXXX
Holdings, L.P.
From-To 4/42/2017 - 12/19/2017

PO Box 309, Ugland House
Grand Cayman, KY1-1104
Cayman Islands

 

Official Form 207

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Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

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BDeblor Acis Capital Management, L.P. Case number (fknown) 18-30264

Business name address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

Dates business existed

25.8. Acis CLO Management Investment holding EIN: XX-XXXXXXX
Intermediate
Holdings I, LLC From-To 3/4/2017 - 12/19/2017

300 Crescent Ct., Ste 700
Dallas, TX 75201

 

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

 

 

CJ None
Name and address Date of service
From-To

26a.1. Highland Capital Management, L.P. 1/1/2011 - current
300 Crescent Court, Ste 700
Dallas, TX 75201

26a.2. James Dondero 4/1/2011 - current
300 Crescent Court, Ste 700
Dallas, TX 75201

26a.3. Frank Waterhouse 1/1/2012 - current
300 Crescent Court
Suite 700

Dallas, TX 75201

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
within 2 years before filing this case.

i None

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.
0 None

Name and address If any books of account and records are
unavailable, explain why
26c.1. Highland Capital Management, L.P.
300 Crescent Court
Suite 700
Dallas, TX 75201

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

I None
Name and address

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

@ No

C1 Yes. Give the details about the two most recent inventories.
Name of the person who supervised the taking of the Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
in control of the debtor at the time of the filing of this case.
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Debtor Acis Capital Management, L.P.

Name Address

Acis Capital Management 300 Crescent Ct., Ste 706

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Case number jifknown) 18-30264

 

Position and nature of any ‘% of interest, if
interest any
General Partner 0.1

 

GP, LLC Dallas, TX 75201

Name Address Position and nature of any % of interest, if
interest any

Neutra, Ltd. PO Box 309, Ugland House Limited Partner 99.9

Grand Cayman, KY1-1104
Cayman Islands

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

O No
Yes. Identify below.

Name Address

Position and nature of any Period during which

 

interest position or interest
was held
The Dugaboy Investment 300 Crescent Ct, Ste 700 Limited Partner 1/24/2011 -
Trust Dallas, TX 75204 12/19/2017
Name Address Position and nature of any Period during which
interest position or interest
was held
Mark Okada 300 Crescent Ct., Ste 700 Limited Partner 1/24/2011 -
Dallas, TX 75204 12/49/2017

 

30. Payments, distributions, or withdrawals credited or given to insiders

Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,

loans, credits on loans, stock redemptions, and options exercised?

OM No
H Yes. Identify below.

Name and address of recipient
property

30.1 Highland CLO Management,
. Ltd.

Maples Corporate Services

Limited

PO Box 309, Ugland House

Grand Cayman, KY1-1104,

Cayman Islands $9,541 ,446.00

Relationship to debtor
Affiliate

 

Amount of money or description and value of

Reason for
providing the value

Dates

11/3/2017

 

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

O No
Ml Yes. Identify below.

Name of the parent corporation

Immediately Prior to 12/19/2017
Federal: N/A (stand alone entity)

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Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

Employer Identification number of the parent
corporation

EIN: N/A

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Debtor Acis Capital Management, L.P. Case number (ifknown) 18-30264
Name of the parent corporation Employer Identification number of the parent
corporation
immediately Prior to 12/19/2017 EIN: XX-XXXXXXX
State (TX): Highland Capital Management, L.P.*
From 12/19/2017 Forward EIN: XX-XXXXXXX
Federal: Neutra, Ltd.
From 12/19/2017 Forward EIN: XX-XXXXXXX

State (TX): Highland Capital Management, L.P.*

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

M@ No
[J Yes. Identify below.

Name of the pension fund Employer Identification number of the parent
corporation

[GEEETGE Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or Imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571,

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executedon April 30, 2018

rb — i,
eee Ethan, beens
ignature of individual signing on behalf of the debtor Printed name

Position or relationship to debtor Ai 2+ oftz ec Si

Are additional pages to Statement of Financial Affairs for Non-individuals Filing for Bankruptcy (Official Form 207) attached?
Bno

0 Yes

 

Note to question 31:
*Highland Capital Management, L.P. is not technically the parent of the Acis
entities shown. However, the combined TX Franchise report for the entire group

is filed under the name of Highland Capital Management, L.P.

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